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                                            EXHIBIT C


        Allegation: “Upon information and belief, one or more of the Recruiting Defendants

         funded Defendant Van Rider’s trip to Saudi Arabia in December 2019, as part of the

         Conspiracy against Ms. Oueiss and the larger pro-Defendant MBS propaganda campaign.”

         (Am. Compl. ¶ 46.)


        Allegation: “Upon information and belief, Defendant Zeinab, discussed below, in his

         capacity as a Saudi 24 TV employee, and at the instruction of Defendant MBS and other

         high-ranking officers of Saudi 24 TV who are dominated and controlled by Defendant

         MBS, recruited various American citizens (including the named Defendants in this

         Amended Complaint) to join a propaganda campaign intended to promote Defendant

         MBS’s interests and attack his critics, including Ms. Oueiss.” (Id. ¶ 92.)


        Allegation: “Upon information and belief, MiSK serves as a front for Defendants MBS,

         Al Qahtani, and Al-Asaker’s objectives in creating a network of foreign and domestic

         agents willing to carry out unlawful discrete operations here in the U.S., including the

         Conspiracy against Ms. Oueiss.” (Id. ¶ 94.)


        Allegation: “Additionally, The Herald Report’s Twitter account which, upon information

         and belief, is operated by Defendant Al-Owerde, has instructed members of the Network,

         including Defendant Van Rider, to follow certain Twitter users:” (Id. ¶ 112.)


         o      Actual tweet: “Everyone, please #follow this very talented writer who is highly

                active in the quest for freedom of his people. He has also written great articles on
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                the site and he came very highly recommended. This is just one example. Please

                support him.      ” (Id.)


        Allegation: “Upon information and belief, Defendants Van Rider, Jundi, Smith and Schey

         are paid in connection with their activities in furtherance of the Conspiracy and the

         Network.” (Id. ¶ 300.)


        Allegation: “Upon information and belief, Defendant Van Rider also disseminated the

         images of Ms. Oueiss with the intent to further the goals of the Conspiracy.” (Id. ¶ 306.)
